                                                           U.S. DISTRICT COURT
                             UNITED STATES DISTRICT cotJR'¥STRICT OF VERMONT
                                       FOR THE                    F''l D).____ _.,.
                                 DISTRICT OF VERMONT


UNITED STATES OF AMERICA,                       )
                                                )


                                                                                             -
               v.                               )
                                                )                               C,
                                                                                             r,..>

JONATHAN CASTRO, a.k.a. "Jose,,,                )   Criminal No. 2:22-cr-00109-~;\           &.,ol

ANIBAL CASTRO, SR., a.k.a. "Papi,"              )
                                                                                              %
JAMES HINES,                                    )
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                                                                                     r-·        I
MICHAEL corrER,                                 )                                    rr:      ..:.J
DEREK.ARIE,                                     )
                                                                                     ::'!J
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TODD AMELL, and                                 )
                                                                                                N
JENNIFER ARM..STRONG                            )                                               N
                 Defendants.                    )


                          · THIRD SUPERSEDING INDICTMENT

       The Grand Jury charges:

                                           COUNT ONE

       Between in or about March 2022 to on or about November 30, 2022, in the District of

Vermont and elsewhere, the defendants JONATHAN CASTRO, a.le.a. "Jose," ANIBAL

CASTRO, SR., a.k.a. "Papi,'' JAMES HINES, MICHAEL COTTER, DEREK ARIE, -

-           TODD AMELL, JENNIFER ARMSTRONG and other individuals, known and

unknown to the grand jury, knowingly and willfully conspired to distribute cocaine base and

fentanyl, Schedul<} II controlled substances.

                           (21 U.S.C. §§ 846, 841(a), and 841(b)(l)(C))
